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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                                 §    Case No. 22-33553
                                                       §
ALEXANDER E. JONES                                     §    (Chapter 11)
                                                       §
         Debtor.                                       §
                                                       §

           DEBTOR’S CONSOLIDATED OBJECTION TO PROOFS OF CLAIM
                     FILED BY CONNECTICUT PLAINTIFFS

         Alexander E. Jones (the “Debtor” or “Jones”), debtor and debtor in possession in the above-

referenced chapter 11 case, pursuant to 11 U.S.C. § 502, hereby files this Consolidated Objection

(the “Objection”) to the following Proofs of Claim (the “Claims”) filed by the Connecticut

Plaintiffs, as amended1:


                 POC Number                            Creditor                  Scheduled by Debtor2


          Proof of Claim No. 6-1            Richard M. Coan, Trustee Contingent and Disputed,

                                            of the Bankruptcy Estate of Schedule E/F, Docket No.

                                            Erica Garbatini aka Erica 231, March 30, 2023

                                            Lafferty


          Proof of Claim No. 7-1            Carlee Soto Parisi                Contingent and Disputed,

                                                                              Schedule E/F, Docket No.

                                                                              231, March 30, 2023




1
  Mark Barden, Jacqueline Barden, Francine Wheeler, David Wheeler, Ian Hockley, Nicole Hockley, Jennifer Hensel,
William Aldenberg, William Sherlach, Carlos M. Soto, Donna Soto, Jillian Soto-Marino, Carlee Soto Parisi, Robert
Parker, and Erica Ash
2
  As such schedules are amended.

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       Proof of Claim No. 8-1    Carlos Mathew Soto   Contingent and Disputed,

                                                      Schedule E/F, Docket No.

                                                      231, March 30, 2023


       Proof of Claim No. 9-1    David Wheeler        Contingent and Disputed,

                                                      Schedule E/F, Docket No.

                                                      231, March 30, 2023


       Proof of Clam No. 10-1    Donna Soto           Contingent and Disputed,

                                                      Schedule E/F, Docket No.

                                                      231, March 30, 2023


       Proof of Claim No. 11-2   Erica L. Ash         Contingent and Disputed,

                                                      Schedule E/F, Docket No.

                                                      231, March 30, 2023


       Proof of Claim No. 12-1   Francine Wheeler     Contingent and Disputed,

                                                      Schedule E/F, Docket No.

                                                      231, March 30, 2023


       Proof of Claim No. 13-1   Ian Hockley          Contingent and Disputed,

                                                      Schedule E/F, Docket No.

                                                      231, March 30, 2023




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       Proof of Claim No. 14-1   Jacqueline Barden     Contingent and Disputed,

                                                       Schedule E/F, Docket No.

                                                       231, March 30, 2023


       Proof of Claim No. 15-1   Jennifer Hensel       Contingent and Disputed,

                                                       Schedule E/F, Docket No.

                                                       231, March 30, 2023


       Proof of Claim No. 16-1   Jillian Soto-Marino   Contingent and Disputed,

                                                       Schedule E/F, Docket No.

                                                       231, March 30, 2023


       Proof of Claim No. 17-1   Mark Barden           Contingent and Disputed,

                                                       Schedule E/F, Docket No.

                                                       231, March 30, 2023


       Proof of Claim No. 18-1   Nicole Hockley        Contingent and Disputed,

                                                       Schedule E/F, Docket No.

                                                       231, March 30, 2023


       Proof of Claim No. 19-1   Robert Parker         Contingent and Disputed,

                                                       Schedule E/F, Docket No.

                                                       231, March 30, 2023




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         Proof of Claim No. 20-1           William Aldenberg           Contingent and Disputed,

                                                                       Schedule E/F, Docket No.

                                                                       231, March 30, 2023


         Proof of Claim No. 21-1           William Sherlach            Contingent and Disputed,

                                                                       Schedule E/F, Docket No.

                                                                       231, March 30, 2023


       In support of the Objection, the Debtor respectfully states as follows:

            I.      JURISDICTION, VENUE, AND STATUTORY PREDICATES

       1.        This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

       2.        Venue is properly before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.        The statutory predicates for the relief sought are 11 U.S.C. §§ 105(a), 502(b),

Federal Rule of Bankruptcy Procedure 3007, and Local Rules 9013-1, and 3007-1 for the Southern

District of Texas Bankruptcy Court.

                                     II.       BACKGROUND

       4.        On December 2, 2022 (the “Petition Date”), the Debtor Alexander E. Jones filed

his voluntary petition for relief under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”).

       5.        Each of the Claims were scheduled by the Debtor as contingent and disputed as

they are the subject of litigation that is currently on appeal. Not only are the underlying litigation

and judgments currently the subject of appeal but the estoppel rulings in the dischargeability suits

filed in the instant Case are also under appeal. Thus, once the multiple appeals are fully and

resolved, the Debtor believes he will not be liable to the Connecticut Plaintiffs in the full amount

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of the Claims as detailed therein. Therefore, the Debtor would seek that the Claims not be allowed

until such time as all appeals have been fully and finally resolved.

                                       III.    OBJECTION

         6.     A filed proof of claim is deemed allowed, unless a party in interest objects. 11

U.S.C. § 502(a). Further, section 502(b)(1) of the Code provides that the court shall “determine

the amount of such claim. . . as of the date of filing the petition, and shall allow such claim in such

amount, except to the extent that –such claim is unenforceable against the debtor and the property

of the debtor…” 11 U.S.C. § 502(b)(1). Whether a claim is allowable is generally determined by

“applicable nonbankruptcy law.” In re W.R. Grace & Co., 346 B.R. 672, 674 (Bankr. D. Del.

2006).

         7.     A proof of claim loses its prima facie presumption of validity under Rule 3001(f)

if an objecting party refutes at least one of the allegations that are essential to the claim’s legal

sufficiency. In re Fidelity Holding Co., Ltd., 837 F.2d 696, 698 (5th Cir. 1988). At that time, the

burden reverts to the claimant to prove the validity of their claim (though the ultimate burden

always lies with the claimant). Id.

         8.     In the appeals process, as well as the dischargeability litigation, the Debtor has

raised substantive issues that refute more than one of the allegations that are essential to the

Connecticut Plaintiffs’ Claims. The Debtor asserts he will be ultimately successful in both appeals,

and thus the Claims should not be allowed, at least until both appeals have been resolved in their

entirety.

                              IV.     RESERVATION OF RIGHTS

         This Objection is limited to the grounds set forth herein and the substantive arguments set

forth in the Appeals. It is without prejudice to any other party in interest to object to the Claims on

any additional or separate grounds. The Debtor expressly reserves all further substantive or

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procedural objections he may have. Nothing herein should be construed as an admission as to the

validity of any pre-petition claim against the Debtor or a waiver of any party’s right to dispute any

pre-petition claim on any grounds. In the event that the relief requested herein is not granted, the

Debtor hereby reserves all rights to object to the Connecticut Plaintiffs’ Claims (or any amended

claims) on any grounds. The Debtor also reserves all rights to amend, modify, or supplement the

objections asserted herein and to file additional objections to the Plaintiffs’ Claims.

       WHEREFORE, the Debtor respectfully requests that the Court enter an Order sustaining

the Objection in its entirety and granting such other and further relief as is just and proper under

the circumstances.




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Dated: June 13, 2024.

                                                 CROWE & DUNLEVY, P.C.

                                                 By: /s/ Christina W. Stephenson
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                                                 Christina W. Stephenson
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                                                 ATTORNEYS       FOR                   DEBTOR
                                                 ALEXANDER E. JONES



                                    CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading was served by the
Court’s CM/ECF system on all parties registered to receive such service on the date of filing, 13th
day of June, 2024.



                                                /s/ Christina W. Stephenson
                                                Christina W. Stephenson




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